                                                      EXHIBIT 5
    Ambrose v. R & L Carriers Corp., Civil No. 3:08-0672., 2008 BL 176599 (M.D. Tenn. Aug. 22, 2008), Court Opinion

Pagination
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Opinion >




                         United States District Court, M.D. Tennessee, Nashville Division.



    RANDALL AMBROSE, SR. and SHARON S. AMBROSE, Plaintiffs, v. R & L CARRIERS, CORP., RALPH
      ROBERTS, CEO, KAREN CREGEAR, DIRECTOR HR CORP. and BERT KRELICK, Terminal Mgr.,
                                        Defendants.



                                                  Civil No. 3:08-0672.


                                                    August 22, 2008


MEMORANDUM and ORDER


ALETA TRAUGER, District Judge


On July 31, 2008, the Magistrate Judge issued a Report and Recommendation (Docket No. 11), to which the
plaintiffs have filed timely objections. This court reviews de novo any portion of the Report and
Recommendation to which a specific objection is made. Rule 72(b), FED. R. CIV. P.; 28 U.S.C. 636(b)(1)(C);
United States v. Curtis, 237 F.3d 598, 603 (6th Cir. 2001).


First, the plaintiffs object on the basis that the Magistrate Judge does not appear to have taken into
consideration their filing made July 25, 2008 (Docket No. 10). They make this assumption because the Report
and Recommendation does not reference any documents within Docket No. 10. Because the filing by the
plaintiffs was made six days before the issuance of the Report and Recommendation, this court cannot
presume that the Magistrate Judge did not review those documents. However, as noted in footnote 4 of the
Report and Recommendation (Docket No. 11 at 7), those documents could not be used to amend the original
Complaint filed June 18, 2008 (Docket No. 1) for purposes of a frivolity review, as was performed by the
Magistrate Judge. Whether or not the Magistrate Judge took account of the documents in Docket No. 10, this
court has reviewed those documents in order to rule upon the plaintiffs' objections.


This court has reviewed the religious discrimination claim and agrees with the Magistrate Judge that the
plaintiff has not set forth sufficient facts, either in his original Complaint or in the documents filed in Docket No.

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             Case 3:20-cv-00628 Document 29-5 Filed 03/23/21 Page 1 of 2 PageID #: 329
                                                                                                                            // PAGE 1
   Ambrose v. R & L Carriers Corp., Civil No. 3:08-0672., 2008 BL 176599 (M.D. Tenn. Aug. 22, 2008), Court Opinion



10, to establish that he was terminated because of his religion. Moreover, he has failed to allege that he was
replaced by a person outside of the protected class, or that he was treated differently than similarly-situated
employees of different religions. The plaintiffs simply have not met the standard for pleading a case of religious
discrimination under Title VII, and the Magistrate Judge's recommendation that this claim be dismissed is
appropriate and will be sustained.


As to the claim under the Americans With Disabilities Act, it appears that plaintiff Sharon S. Ambrose may, in
fact, be disabled, and perhaps the minor son of the plaintiffs, is at least temporarily disabled because of injuries
received in an accident. However, neither of these individuals works for the defendants, and there is no
evidence that they have exhausted their administrative remedies in any case. There is no cause of action for
"associating" with someone with a disability such that a violation of the Americans With Disabilities Act arises.
It is certainly regrettable that Randall Ambrose's termination by the defendants caused the family to lose the
health insurance furnished through the defendant employer, but the court simply sees no valid cause of action
[*2] under the Americans With Disabilities Act in the plaintiffs' allegations.


The plaintiffs also raise a "HIPAA violation" and "wrongful termination" in their objections. No "HIPAA violation"
was alleged in the original Complaint, and a new cause of action cannot be raised in these objections. The
allegations of "wrongful termination" are subsumed within the causes of action alleged for religious
discrimination and a violation of the American With Disabilities Act. Therefore, they have been dealt with in this
ruling.


For the reasons expressed herein, the plaintiffs' Objections (Docket No. 12) are OVERRULED, and the Report
and Recommendation is ACCEPTED and made the findings of fact and conclusions of law of this court. For
the reasons expressed therein and herein, it is hereby ORDERED that this case is DISMISSED.


It is so ORDERED.




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           Case 3:20-cv-00628 Document 29-5 Filed 03/23/21 Page 2 of 2 PageID #: 330
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